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                           IN THE UNITED STATES DISTRICT
                          COURT FOR THE WESTERN DISTRICT
                               OF TEXAS WACO DIVISION

SBI CRYPTO CO., LTD.,

       Plaintiff,

              v.                             Civil Action No.: 6:23-cv-252-ADA-DTG

WHINSTONE US, INC.,

       Defendant.                            Jury Trial Demanded

                                        ORDER

       On March 5, 2025, the Court held a Discovery Hearing [Dkt. 72] arising from a

dispute in which Defendant Whinstone US, Inc. (“Whinstone”) seeks the production of

certain documents from Plaintiff SBI Crypto Co., Ltd. (“SBI”) and the in-person

deposition of Nick Vitalis. Having considered the filings and arguments of counsel,

Defendant’s Request is GRANTED IN PART AND DENIED IN PART.

       The Court ORDERS SBI to produce non-privileged documents in response to

Whinstone Request for Production Nos. 15-18, 20, 31, 36-37, 88, 133-34, 143-144, and

146-153 to the extent those Requests relate to the:

   •   performance, maintenance, and operation of SBI’s mining equipment at facilities

       located in Rockdale or Kyrgyzstan/Russia;

   •   construction, design, layout and operation of the Kyrgyzstan/Russia facilities,;

   •   any actual or potential warranty claims for the Canaan A-10 miners used at these

       facilities, including any analysis, investigation, or discussion of Canaan A-10

       miner issues (whether actual or potential);

   •   any actual or potential purchase, resale, replacement, maintenance, and/or
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       troubleshooting for any Canaan A-10 miner used at these facilities; and

   •   The source data for any spreadsheet relied upon by SBI’s expert witnesses.

       SBI is ORDERED to produce all documents and materials responsive to these

requests on or before April 25, 2025.

       SBI is further ORDERED to produce for in-person deposition Nick Vitalis at a

mutually agreeable time in Dallas, Texas, by no later than June 2, 2025.

       Any other relief sought by Whinstone pursuant to the foregoing discovery dispute

is hereby DENIED.

       SIGNED this 17th day of April, 2025.




                                  DEREK T. GILLILAND
                                  UNITED STATES MAGISTRATE JUDGE




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